FILED DATE: 9/14/2018 2:45 PM 2018L010022

Case: 1:20-cv-01193 Document #: 1-1 Filed: 02/19/20 Page 1 of 4 PagelD #:4

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File No: 26328-1IO DOROTHY BROWN
CIRCUIT CLERK

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS — COOK COUNTY, IL
COUNTY DEPARTMENT, LAW DIVISION

MICHAEL K. FRICKIN, )
)

Plain. =) 2018L010022

v5, ) CASE NO.:
)
JID TRANSPORTATION, INC. and )
JASON MICHAEL FREEMAN. )
)
Defendants.)
‘COMPLAINT

Count I

NOW COMES the Plaintiff, MICHAEL K. FRITKIN (“Plaintiff”) by and through his

attorneys. O'HAGAN MEYER, ELC. and complaining of the Defendants, JD
TRANSPORTATION, INC. and JASON FREEMAN (“Defendants”), states as follows:
\. That on or about September 21, 2017. Michae] K. Fritkin, PlaintilT, was stopped

in a southeast direction on 1-90 in the second lane from the loft at or about Cumberland Avenue

in the City of Chicago, County of Cook, State of Mlinois.

2. hat on said date and place the Defendant, Jason Freeman, was operating a
tractor-trailer unit as the employee and/or agent of the Defendant JD ‘Transportation, [ne.

3. On said date, the Defendants were operating a tractor-trailer in a southeast
direction on 1-90 (Kennedy Expressway) in the second lane from the left at or about Cumberland
Avenue in the City of Chicago, County of Cook, State of Illinois.

4, ‘That on said date. Defendants tractor-trailer unil collided with and struck the rear

of the Plaintiff's stopped vehicle.

EXHIBIT
FILED DATE: 9/14/2018 2:45 PM 2018L01G022

Case: 1:20-cv-01193 Document #: 1-1 Filed: 02/19/20 Page 2 of 4 PagelD #:5

5. That at the time of the collision, the Plaintiff was exercising due care and caution
for his safety and the safety of others.
6. ‘That al the time of the collision, the Defendants had a duty to exercise duc care in

the operation, maintenance and use of their tractor-trailer unit.

UA That the Defendants breached their duty to exercise duc care and proximately

caused injuries and damages to the Plaintiff by one or mare of the following negligent acts or

omissions:

a. Failed to keep a proper and sufficient lookout;

b. Proceeded at a speed that was too fast for conditions in violation of 625
ILCS 5/1 1-904;

c. Failed to decrease speed to avoid a collision in violation of 625 ILCS
S/11-601;

d. Failed lo maintain the brakes for the tractor-trailer unit:

é, Failed to apply brakes to avoid a collision: and

f. Otherwise Defendants were careless and negligent in their operation,
maintenance and use of their tractor-trailer unit.

g. ‘Thal as a direct and proximate result of Defendants’ negligent acts and omissions,

the Plaintiff was injured and sustained damages of a permanent nature which caused the Plaintilt
to incur medical expenses. damages and loss of income currently and in the future.
WHEREFORE, Plaintiff asks the Court to lind in favor of the Plainti(( and against the

Delendants in a sum that is reasonable and proper, and for a sum in excess of the jurisdictional

limit of $50,000.00.
FILED DATE: 9/14/2018 2:45 PM 2048L010022

Case: 1:20-cv-01193 Document #: 1-1 Filed: 02/19/20 Page 3 of 4 PageID #:6

I. That. on or about September 21, 2017, Michacl K. Fritkin, Plaintiff, was stopped

in a southeast direction on (-90 in the second lane from the teft at or about Cumberland Avenue

in the City of Chicago, County of Cook, State of IIinois.

ae

2 That on said date and place, the Defendant Jason Freeman was operating a traclor-
trailer unit as the employee and/or agent of the Defendant JD ‘Transportation, Ine.

3. On said date, the Defendants were operating a tractor-trailer in a southeast
direction on 1-90 (Kennedy Expressway) in the second Jane from the left at or about Cumberland
Avenue in the City of Chicago. County of Cook, State of Hlinois.

4, That on said date, Defendants’ tractor-trailer unit collided with and struck the rear
of the Plaintilf's stopped vehicle.

5. Thal at the time of the collision, the Plaintiff was exercising due care and caution
for his safety and the salety of others,

6. That at the time of the collision, the Defendants had a duty to exercise duc care in
the operation, maintenance and use of their tractor-trailer unit.

7. ‘That the Defendants breached their duty and proximally caused injurics and
damage to the Plaintifl by the following willful and wanton misconduct.

a. Repeatedly hit the rear of Plaintiffs motorcycle until the Plaintiff was

knocked off af his cycle and fell into the front end of the tractor-trailer

unit operated by the Defendants.
FILED DATE 9/14/2018 2:45 PM = 2018L010022

Case: 1:20-cv-01193 Document #: 1-1 Filed: 02/19/20 Page 4 of 4 PageID #:7

8. That as a direct and proximate result of Defendants willful and wanton acts and
omissions. the Plaintiff was injured and sustaincd damages of a permanent nature which caused
the Plaintiff to incur medical expenses, damages and loss of income currently and in the fulure.

WHEREFORE, Plaintiff asks the Court to find in favor of the Plaintiff and against the

Defendants in a sum thal is reasonable and proper, and for a sum in excess of the jurisdictional

limit of $50,000.00.

Dated: September 14. 2018 Respectfully Submitted:
MICHAEL K, PRITKIN

By: __“sd/ames J_ O'Hagan
One of his attorneys
O'HAGAN MEYER ILLC

James J, O'Hagan

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